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                   IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF HAWAI‘I



 STATE OF HAWAII, ISMAIL                     Civil No. 17-00050 DKW-KSC
 ELSHIKH, JOHN DOES 1 & 2, and
 MUSLIM ASSOCIATION OF
 HAWAII, INC.,                                  PRELIMINARY INJUNCTION

              Plaintiffs,

       vs.

 DONALD J. TRUMP, et al.,

              Defendants.



       The Court enters the following Preliminary Injunction pursuant to the Joint

 Stipulation to Convert Temporary Restraining Order to Preliminary Injunction,

 entered October 20, 2017:

                            PRELIMINARY INJUNCTION

 It is hereby ADJUDGED, ORDERED, and DECREED that:

       Defendant ELAINE DUKE, in her official capacity as Acting Secretary of

 Homeland Security; REX W. TILLERSON, in his official capacity as Secretary of

 State; and all their respective officers, agents, servants, employees, and attorneys,

 and persons in active concert or participation with them who receive actual notice of



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 this Order, hereby are enjoined fully from enforcing or implementing Sections 2(a),

 (b), (c), (e), (g), and (h) of the Proclamation issued on September 24, 2017, entitled

 “Enhancing Vetting Capabilities and Processes for Detecting Attempted Entry into

 the United States by Terrorists or Other Public-Safety Threats” across the Nation.

 Enforcement of these provisions in all places, including the United States, at all

 United States borders and ports of entry, and in the issuance of visas is prohibited,

 pending further orders from this Court.

        No security bond is required under Federal Rule of Civil Procedure 65(c).

        The Court declines to stay this ruling or hold it in abeyance should an appeal

 of this order be filed.

        IT IS SO ORDERED.

        Dated: October 20, 2017 at Honolulu, Hawai‘i.




 State of Hawaii, et al. v. Trump, et al.; CV 17-00050 DKW-KSC; PRELIMINARY
 INJUNCTION



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